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        UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK




          EXPERT REPORT OF PATRICK B. DOODY


                       December 20, 2019




Securities and Exchange Commission v. Telegram Group, Inc. and TON
                           Issuer, Inc.




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1.        Introduction


          1.1    Assignment


          1.    I have been engaged by the Securities and Exchange Commission (“SEC”) to provide

expert testimony in the matter of Securities and Exchange Commission v. Telegram Group Inc. and Ton

Issuer Inc., pending in the United States District Court for the Southern District of New York. The SEC

has retained me to independently analyze and opine on the perspective of a reasonable purchaser of the

digital tokens called Grams that were offered for sale by Telegram in two rounds, the first round ending in

or about February 2018 (“Round One”) and the second round ending in or about March 2018 (“Round

Two”), as well as the perspective of a reasonable purchaser of Grams at the time of network launch.


          1.2    Qualifications


          2.    I am a blockchain data scientist at Integra FEC LLC (“Integra”), a forensic data analytics

and economic consulting firm. My work with Integra has included assisting various government agencies

to investigate financial fraud in the blockchain and digital assets space. I am also the founder and

managing director of an investment partnership, Lily Pad Capital LLC. Lily Pad Capital was founded in

2016 to make investments in the digital asset space, and as Managing Director I profitably allocated

capital to many digital asset investments. In addition to analyzing hundreds of companies, projects and

tokens in the digital asset space, I developed and executed a successful cryptocurrency arbitrage strategy.

This arbitrage operation has given me an intimate familiarity with many different participants in the

digital assets ecosystem, including retail traders, institutional investors, cryptocurrency miners, software

developers, entrepreneurs, and venture capital investors. In addition to my experience in digital asset

investments, I have 17 years of experience evaluating and investing in companies, public equities,

commodities, bonds, currencies, and derivatives of those asset classes. I received a B.S. in Electrical

Engineering from Rice University, and a M.S. in Electrical Engineering from The University of Texas at

Austin.




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              3.            Appendix A to this report contains my curriculum vitae with more details about my

professional background. I am a salaried employee of Integra. Integra will be compensated by the SEC at

a rate of $420 per hour for the time I spent on this matter. I have been assisted by additional staff

members of Integra to analyze data and documents related to this matter. Integra will be compensated by

the SEC at a rate of $500 per hour (Engagement Director) and $220 per hour (Data Analyst) for their

work.1


              1.3            Documents Relied Upon


              4.            Appendix B to this report contains a complete list of documents and data sources I relied

upon in completing the analysis in this report. These include offering documents issued by Telegram to

potential investors, the Telegram Open Network whitepapers, and public trading data for a variety of

digital assets.


2.            Summary of Findings


              5.            Through my professional experience closely analyzing and investing in the digital assets

space, after carefully reviewing the Telegram Open Network (“TON”) whitepapers and other documents

provided by Telegram to potential purchasers of Grams, I conclude that it was reasonable for a purchaser

to buy Grams in Round One and Round Two with the expectation of profit derived from the work of

Telegram in developing the TON Blockchain ecosystem. Specifically, the purchasers would have a

reasonable expectation of profit through the resale of their Grams in the secondary market after Telegram

developed and launched the TON Blockchain ecosystem using the money raised from the Round One and

Round Two purchasers (the “Initial Purchasers”). I also conclude that it was unlikely that a reasonable

purchaser of Grams in Round One and Round Two would acquire Grams in order to purchase goods and

services, because, among other reasons, there were no identifiable uses for Grams at that time. It would


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  Integra is currently contracted to assist the SEC in connection with one additional expert report being prepared for
this case, and in four other matters, and provides services to other federal and state-level enforcement and regulatory
agencies.


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not make sense from a business perspective to tie up substantial capital for approximately one year or

more just to purchase a potential currency that might not be widely accepted in the future. In addition,

there was significant uncertainty about the future price of Grams and therefore uncertainty about how

many Grams a consumer or business needed to purchase to facilitate transactions with their commercial

counterparties. Furthermore, a number of the financial mechanisms and ideas Telegram marketed to

potential purchasers appear to be specifically designed to increase the potential for a profitable investment

return on their purchase of Grams and to reduce risk of loss for the Initial Purchasers, rather than to

promote Grams as a realistic currency option to buy goods and services.

              6.            One important component of the Gram offering that would appeal to the mindset of a

purchaser buying Grams for profit is the novel and deterministic Reference Price formula that results in

an exponential increase in the price of Grams as they are issued. By prohibiting the TON Foundation from

selling new Grams below this increasing Reference Price, Telegram assured potential purchasers that it

would not flood the market with a new supply of Grams at prices below what the Initial Purchasers paid

for the Grams, irrespective of the company’s present financial conditions or need to raise more capital.

Moreover, Telegram told potential purchasers that they would sell them Grams at substantial discounts to

the expected Reference Price at the launch of the TON Blockchain. Telegram took this price support a

step further by telling potential purchasers through its offering documents and the TON Whitepapers that

it would establish a procedure for the TON Foundation to repurchase Grams directly if the market price

dropped below half the Reference Price. While Telegram stated that it reserved the right but not the

obligation to buy back Grams, this was nevertheless a strong, and in my experience a highly unusual,

signal to potential purchasers that Telegram would protect their investment from losses. Indeed, Telegram

explicitly stated: “This may help prevent sudden falls of the Gram exchange rate.”2

              7.            The product plans, total addressable market, and team details described in Telegram’s

Whitepaper and promotional materials appeal to investors who seek a business model that provides a high


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    Telegram Open Network Whitepaper, TG-001-00000080—211, p. 131.


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potential profit upside. The Telegram and TON product roadmaps tout the large built-in potential market

for Grams represented by over 200 million users of Telegram Messenger and highlighted plans to expand

that market to over 675 million Telegram Messenger users by 2021, thereby expanding the potential

demand for Grams. Telegram’s stated ambition to disrupt the payments space and become an alternative

to Visa and Mastercard create a stratospheric upper bound on the total potential market for Grams

targeted by this project. And Telegram’s emphasis on its leadership team’s history of building valuable

companies increased the likelihood that potential investors would consider a purchase of Grams to be an

investment that would yield high profits when they resold the Grams to the public to satisfy the

anticipated heavy demand for Grams that Telegram was working to develop.

        8.     In contrast, in my opinion, a reasonable person or entity considering the purchase of

Grams to purchase goods and services would look to a number of different factors that received little or

no attention in Telegram’s promotional material, including fraud prevention, theft, integration with their

existing banking relationships, and compliance with financial regulations. Providing price support would

be an important feature of the project for such potential commercial users. However, instead of promoting

an exponentially increasing price support, it would have been far more assuring to potential consumptive

users of Grams to peg the price of Grams to a stable fiat currency underpinning a major economy such as

the U.S. Dollar or Euro. As described in this report, several aspects of the Gram design choices,

promotion of the Gram offering, and policies governing further sales and buybacks either do not address

or would heighten rather than answer the concerns of a potential non-investment purchaser.

        9.     Finally, I conclude that reasonable purchasers of Grams at launch of the TON Blockchain

(“Launch Purchasers”) are also likely to still be purchasing Grams as an investment with the intent to

profit from the efforts of Telegram, rather than purchasing Grams to buy goods and services. There

appear to be only minimal commercial uses for Grams anticipated at launch. For example, no major

vendor to my knowledge has agreed to accept Grams as a form of payment. The current state of the TON

Blockchain ecosystem still appears to be in its infancy compared to its possibilities as marketed by

Telegram. Thus, a reasonable Launch Purchaser would likely purchase Grams with the expectation of


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investment profits based on the TON Blockchain’s future evolution rather than to use the Grams now for

the limited goods and services they may buy.


3.      Background


        3.1      Digital Assets


        10.     Digital assets, such as Bitcoin and Ether, are recorded systems of value and exchange that

are maintained on decentralized and publicly accessible ledgers. Cryptographically-signed transactions

denominated in these digital assets are validated and grouped together into “blocks.” A “blockchain”

comprises a chronological collection of successive blocks that have been accepted by a software-defined

consensus mechanism. This blockchain data is stored for the collective use of anybody who wishes to

interact with that data or transaction history for a given digital asset. The primary digital asset, or “token,”

that is recorded on a given blockchain is referred to as that blockchain’s “native token.” For example, the

native token of the Ethereum blockchain is Ether. Grams are the native tokens for the TON Blockchain.

        11.     Some blockchains provide computational features beyond just the record-keeping

function of maintaining a currency ledger. Such blockchains include “smart contracts,” which are

software-defined applications with code stored directly on the blockchain. Smart contracts contain

instructions for a wide range of tasks, including automating transactions between parties, storing data on

the blockchain, and defining new digital assets hosted on an existing blockchain.

        12.     New transactions recorded on a blockchain ledger may be validated using a proof-of-

work mechanism (“POW”), in which significant computational effort must be expended in order to create

a new block. New blocks may also be created by stakeholders who can prove that they hold a specified

significant stockpile of the digital asset, in what is called a proof-of-stake mechanism (“POS”). The

validators who participate in the TON Blockchain POS system are to be rewarded for their work by

payments in Grams.




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        3.2     Trading Platforms


        13.    Digital assets, like traditional financial assets, are often traded in public marketplaces, or

“trading platforms.” Some popular examples of digital asset trading platforms are Coinbase, Binance, and

Kraken. On these platforms, digital assets may be traded for fiat currencies or other digital assets.

“Centralized exchanges” carry out this task on a private server, without recording trades directly on the

blockchain. “Decentralized exchanges” do record all trades on the blockchains of the digital assets

involved in a trade, making every trade publicly viewable. Both types of trading platforms, along with

alternate trading venues such as futures and derivatives markets, are important components of the overall

ecosystem of digital assets. These platforms facilitate the fundraising, hedging, speculating, and price

discovery activities that are necessary to the proper functioning of a financial system.


        3.3     Fundraising


        14.    A new digital asset is typically offered to outside investors and sold in an initial coin

offering (“ICO”), similar in concept to a stock sale made in an initial public offering (“IPO”). An ICO

may offer the new digital asset in exchange for fiat currencies or other digital assets. Sometimes they are

offered to anybody who sends acceptable digital tokens to a particular blockchain address, and sometimes

the sale is restricted to a set of investors who have been vetted and approved by the issuing organization.


4.      Telegram Open Network Description


        15.     The TON Blockchain is to be built by Telegram. Telegram told potential investors that

substantial functions in furtherance of the success of the TON Blockchain would be carried out by the

TON Foundation through the TON Reserve (collectively referred to herein as the “TON Reserve”),

including potentially buying and selling Grams in accordance with the Reference Price formula. The TON

Blockchain has several distinguishing design characteristics and product features which are described in

the TON whitepaper.




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              4.1            Grams


              16.           The Gram is intended to be the native token of the TON Blockchain. The TON

whitepaper states that Grams are intended to be used to pay for blockchain fees, products and services

provided on the TON Blockchain, and for payments between users of the TON Blockchain.


              4.2            Proof-of-Stake Validators


              17.           The TON Blockchain uses a proof-of-stake system to validate transactions. Gram holders

may volunteer to be selected to provide validation services to the blockchain in exchange for additional

Grams. Providing these services is not a passive activity but rather amounts to running a business,

requiring significant technical expertise along with computational resources such as processing power,

network bandwidth, hard disk space.3 Acting as a validator also requires locking up the Grams one has

staked for at least one month every time one is chosen for that role.4 Failing to fulfill all the obligations of

a validator (e.g. by signing an invalid block) will result in the forfeiture of part or all of the validator’s

staked Grams.5 The commitment of time, capital, and expertise makes this a role that is likely to be filled

by dedicated businesses rather than by typical venture capital firms or wealthy individual investors or

consumers.


              4.3            Smart Contract Platform


              18.           Telegram proposes to implement a scalable smart contract platform in order to support an

ecosystem of third party decentralized applications (“dapps”).6 These dapps are intended to provide

digital services hosted on the TON Blockchain such as games, maps, gambling, or peer-to-peer financial

services. Interacting with a smart contract typically requires a payment to cover the network’s costs of




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  Telegram Open Network Whitepaper, TG-001-00000080—211, p. 45.
4
  Telegram Open Network Whitepaper, TG-001-00000080—211, p. 47-48.
5
  Telegram Open Network Whitepaper, TG-001-00000080—211, p. 64.
6
  Telegram Open Network Primer, TLGRM-010-00000513—535, p. 14.


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processing the result or transaction. This is referred to as a “gas” payment and is denominated in the

blockchain’s native digital asset. In the case of TON, units of gas are intended to be paid in Grams.


              4.4            Blockchain of Blockchains


              19.           Telegram proposes to facilitate the creation of entirely new blockchains on the TON

platform.7 This multi-blockchain functionality is intended to allow third-parties to create specialized

blockchains with their own digital assets, all hosted and maintained on the master TON Blockchain.


              4.5            Native TON Products


              20.           The TON whitepaper describes various products that are proposed to be developed by

Telegram and built directly into the TON Blockchain, including: TON Storage, TON Proxy, TON

Services, TON DNS, and TON Payments.8 These products are intended to attract a large user base to the

TON Blockchain and create a higher demand for Grams.9


              4.6            Telegram Integration


              21.           In order to provide an initial critical mass of users to the TON Blockchain and to support

the use of Grams, Telegram has proposed several ways that they will integrate the Ton Blockchain into

Telegram Messenger, further increasing the demand for Grams, including TON wallets, External ID (a

universal identity verification service), advertising on Telegram Messenger, and an app store for TON and

Telegram applications.


5.             Considerations of a Potential Gram Purchaser


              22.           Based on my extensive experience making investments in both the digital assets market

as well as in companies, public equities and other asset classes, I believe that a reasonable purchaser of




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  Telegram Open Network Whitepaper, TG-001-00000080—211, p. 5.
8
  Telegram Open Network Whitepaper, TG-001-00000080—211, pp. 100-103.
9
  Telegram Open Network Primer, TLGRM-010-00000513—535, pp. 13-14.


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Grams would consider the following factors when purchasing Grams: company and staff credentials,

addressable market, product, market dynamics, and investor terms and investment exit.10


              5.1            Company and Staff Credentials


              23.           The background and credentials of a team that launches a new token or digital asset is

very important to improve the chances that the token increases in value over time. The promotional

materials produced for Gram went to great lengths to highlight the impressive backgrounds of the

Telegram team. These promotional materials especially focused on the Telegram founders’ previous

success in building “billion dollar companies used by hundreds of millions of people.”11 From my

professional experience in the digital assets space, this information was likely to strongly appeal to

investors looking for profitable investment opportunities.

              24.           In contrast, the background information outlined in the promotional materials did not

describe the type of professional experience in finance or banking that would be necessary to address the

concerns of vendors or customers who were considering a long-term usage of the Grams as part of their

business operations.

              25.           Telegram itself is firmly associated with the digital asset investment space. According to

a Telegram promotional document, Telegram Messenger was the most popular forum for discussing

digital asset investments during the period of intense speculation and appreciation in the digital asset

space in 2017.12 Telegram had a well-known brand name associated with digital asset investing, and also

owned the primary channel of discourse around digital asset investing. Due to this strong brand

recognition, Telegram’s association with the TON project itself was an extremely positive signal to

investors looking to make a good return on their investment.



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   These factors, or variations thereof, are consistent with stated factors used by venture capitalists to evaluate
investments. As an example refer to: Roberts, M. J., & Barley, L., How venture capitalists evaluate potential venture
opportunities, Harvard Business School Research and Ideas, May 2005.
11
   Telegram Open Network Four Page Teaser, TLGRM-006-00000101—104, p. 4.
12
   Telegram Open Network Primer, TLGRM-010-00000513—535, p. 12.


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              26.           In contrast, Telegram’s position as a popular forum for promoting digital asset

investments would not particularly matter to somebody deciding whether to buy and hold Grams as a

personal or business decision to fulfill a functional need regarding cash management or payments

solutions.


              5.2            Addressable Market


              27.           A major point of focus of the TON whitepaper and promotional materials was the size of

the potential total addressable market related to the TON Blockchain ecosystem, in addition to the large

existing user base of Telegram Messenger users. This is a key consideration for investors generally, and

especially for venture capital investors looking to tap into a very large potential investment opportunity

that can scale very quickly and provide extraordinary returns. These investors would hope to sell their

digital tokens to meet the anticipated high and growing demand for such digital tokens from either

additional speculative investors or potential future users of the token. The TON whitepaper breaks down

the size of the market opportunity for the TON Blockchain into two main categories: the potential market

related to the Telegram Messenger social media platform, and the size of the market related to Grams as a

potentially disruptive player in the payments industry.


              5.2.1           Telegram Messenger
              28.           The Telegram Messenger platform reached over 200 million monthly active users

(“MAU”) in early 2018. According to the TON promotional materials, and as shown in Figure 1,

Telegram projects that figure to more than triple to 675 million MAU by 2021. This amounts to an

impressive 50% annualized growth rate in the number of active users on the Telegram platform. Indeed,

Telegram advised the Initial Purchasers that it would use proceeds from their investment to further

support and develop Telegram Messenger.13 As described in the background section of this report,

Telegram informed the Initial Purchasers that it intended to directly integrate Telegram Messenger with



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     Telegram Open Network Primer, TLGRM-010-00000513—535, p. 18.


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the TON Blockchain ecosystem and the Gram token in several significant ways. This integration provides

avenues for Gram holders to profit from the growth of Telegram Messenger through their investment in

Grams. In my opinion, a reasonable purchaser of Grams in January through March 2018 would consider

this as a reason to invest in Grams with the expectation of making a profitable investment, based on

Telegram’s stated intention to develop and grow Telegram Messenger and integrate it with the TON

Blockchain ecosystem.

         Figure 1. Realized and Projected Telegram Messenger MAU in Promotional Materials




        Source: Telegram Open Network Primer


        5.2.2   Gram Payments
        29.    Telegram’s stated intention to disrupt the payments space presents a second large market

for Grams. The TON whitepaper and promotional materials describe the ultimate goal of Grams

achieving mass-adoption as a payment solution, competing with and potentially becoming an alternative

to companies like Visa, Mastercard, and Paypal as the most common forms of payment for everyday




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transactions. The global payments industry in 2018 reached $1.9 trillion,14 which presents a massive

opportunity for an entity that could successfully disrupt this space and gain significant market share. If the

TON Blockchain and the Gram eventually gained widespread usage as a payments solution, the fixed

initial supply of Gram tokens and low inflation rate necessarily results in a price per Gram that is orders

of magnitude higher than the price paid by investors in the initial fundraising rounds. In my opinion, a

reasonable purchaser of Grams would consider the large scale of this potential market and the potential

for the TON Blockchain to achieve mass-market adoption as a reason to purchase Grams with the

expectation of profits derived from the efforts of the Telegram team to develop the TON Blockchain.


              5.3            Products


              30.           The product development roadmap describes several ways in which potential economic

activity may take place on the TON Blockchain. These future use cases could increase the speculative

market capitalization of Grams. In addition, future usage of the TON Blockchain products—contingent on

their successful development and implementation by Telegram—would increase the demand for Grams as

gas payments and transaction fees.

              31.           First, the Telegram development plan includes the intended creation of a variety of

products that will be native to the TON Blockchain: TON Storage, TON Proxy, TON Services, TON

DNS, and TON Payments. Second, the Telegram development plan includes a variety of products that are

part of Telegram Messenger but integrate closely with the TON Blockchain: TON wallets, External ID,

paid bots, groups and channels advertisements, purchasing digital content and physical goods, and an app

store with a registry for TON dapps. Third, the smart contract platform built into the TON Blockchain

will allow third party developers to make software hosted directly on the TON Blockchain. All three

types of products require significant investment by Telegram developers. Specifically, it is worth noting

that the second set of products, which require integration with Telegram Messenger, would need



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     McKinsey and Company, Global Payments Report 2019, p. 3.


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significant development and maintenance efforts by Telegram Messenger to ensure i) proper usage and

engagement by Telegram Messenger users and ii) the subsequent usage and engagement of the TON

Blockchain by those users. Such development and maintenance efforts by Telegram would need to

continue after the launch of the TON Blockchain.

        32.     The story Telegram promoted by highlighting these three sources of users and activity

related to the TON Blockchain would, in my experience and opinion, heighten interest in the purchase of

Grams as an investment with the expectation of a profit. A reasonable investor in a digital asset would

consider the different potential sources of users, transactions, and value on a new blockchain. A narrative

that includes many large sources of potential usage is more likely to garner press coverage, support from

digital token trading platforms exchanges, and backing by key investors and influencers in the digital

assets space and therefore increase the likelihood that a purchaser would buy Grams with the expectation

of profit once Telegram develops and launches the TON Blockchain.


        5.4      Market Dynamics


        33.     The overall digital assets market was in the midst of a speculative fervor throughout 2017

and leading up to the Round 1 and Round 2 sale of Grams in the first quarter of 2018. The high trading

activity and investment returns of this asset class in general helped to support the price of digital assets

and led investors to treat new digital assets as potential investment opportunities.

        34.     The U.S. dollar denominated trading volumes for digital assets grew consistently during

this time period. Figure 2 shows the growth in trading volumes for the 100 digital assets with the highest

market capitalization in 2018 that also had trading data going back to 2016. The total trading volume for

this collection of digital assets grew from $90 million per day in the first quarter of 2016 to $19 billion

per day in the first quarter of 2018, an increase of over 200 times.




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                     Figure 2. Average Daily Trading Volume for Top 100 Digital Assets




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        35.    The price performance of digital assets during this period was strong as well. For the

same group of 100 largest tokens by market capitalization that was used in the preceding paragraph, the

daily equal-weighted price index was calculated starting at the beginning of Q1 2016 and ending with the

close of Q1 2018. Figure 3 shows the price chart of this digital asset price index. Even with a severe

downturn in this asset class at the end of the measured period, the annualized return of that basket of

digital assets was 1,984%. The high investment returns of many digital assets during this time period

would give a reasonable investor confidence that the rising tide of digital assets would provide some

downside protection for their investments in this space.




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                                                    Figure 3. Price Index Chart of Top 100 Digital Assets




              36.             Due to the strong correlation between digital assets and high returns across the entire

digital asset space, a reasonable purchaser of Grams familiar with the digital asset space would consider

this robust market for digital tokens as an added reason to purchase Grams with the intent to profit.

Indeed, the correlation between the daily market returns of individual digital assets and the daily market

return of Bitcoin was positive for the vast majority of digital assets in 2017.15


              5.5             Investment Terms and Investor Exit


              37.           According to the Telegram offering documents and the TON whitepaper, the total

potential supply of five billion Grams would be allocated to five broad categories, with different rights,



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     Hu, A., Parlour, C. A., & Rajan, U., Cryptocurrencies: Stylized Facts on a New Investible Instrument.


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restrictions, and uses associated with each category.16 Approximately 2.25 billion Grams are allocated for

the First Round investors. These investors are subject to a lock-up period that restricts the sale of Grams,

with 25% of their Grams available for sale 3, 6, 12, and 18 months after network launch. Approximately

639 million Grams are allocated to the second round of investors. 500 million Grams are allocated to the

incentives pool for customers and companies participating in the TON ecosystem. 200 million Grams are

allocated to the developer pool for Telegram employees. The Grams in the developer pool are to be

subject to a vesting period and therefore will not be immediately available for sale. Finally, at the time of

network launch the TON Reserve is planned to have control of the remaining 1.4 billion Grams.

              38.           In a typical securities offering, the issuing organization has the power to dilute current

security holders or suppress the price of the asset through additional sales at low prices. Telegram created

a price formula that sets the minimum price at which Gram sales may occur by the TON Reserve. This

price is well above the price at which the Initial Purchasers bought their Grams. The existence of the price

floor substantially assuages concerns by the Initial Purchasers that their potential for profit will be

negatively impacted when the Ton Reserve sells Grams. The Gram Reference Price formula guarantees

that the sale price of the Grams increases exponentially as a function of the number of Grams that have

been put into circulation. The reference price formula is given by:

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where n is the number of Grams in circulation. This formula dictates that the first Gram is sold for a price

of $0.10, and the final Gram under the total initial supply cap is sold for a price of $14.84, a total increase

of more than 14,700% from the first Gram in circulation to the last Gram in circulation. Based on the

$850 million in Grams expected to be sold to the First Round and the $1.7 billion in Grams Telegram told

the Initial Purchasers it expected to raise in subsequent rounds, the anticipated Reference Price at launch

would have been $2.65.17 This price was substantially, indeed enormously, higher than what the Initial


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16
  Second Supplemental Memorandum to the Staff of the Securities and Exchange Commission, p. 4.
17
  This calculation excludes an additional 700 million Grams that Telegram at some point deemed issued for
purposes of calculating the Reference Price. Including these additional 700 million Grams would raise the


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Purchasers paid for their Grams, thereby assuring them that Telegram would not reduce their chance to

profit from their investment by selling Grams into the market at prices below their purchase price or even

anywhere remotely near that price.

              39.           In addition to a guaranteed minimum sale price received by the TON Reserve as it sells

Grams, the TON Reserve also told potential purchasers that it was setting up a mechanism to engage in

Gram buybacks in order to boost the price of Grams directly by increasing demand for Grams and

reducing the remaining supply of Grams in circulation.18 According to the TON whitepaper, these

buybacks “may help prevent sudden falls” in the price of a Gram. The buyback price occurs at or below a

value of one half of the Reference Price shown in the preceding paragraph. Figure 4 shows the minimum

sale price and the buyback price of Grams as they are put into circulation.


                                                    Figure 4. Gram Price vs Grams in Circulation




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hypothetical Reference Price in this calculation from $2.65 to $5.34. This topic is discussed in greater detail in
Paragraph 47.
18
   Telegram Open Network Whitepaper, TG-001-00000080—211, p. 131.


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        40.    The unique buyback mechanism described in the TON whitepaper is significant in that

Telegram is sending the signal to potential purchasers that it may actively protect investors from losing

all, or indeed, any of their money. Although Telegram makes clear that they are not legally obligated to

complete such a buyback, the very existence of this buyback program sends a strong signal to investors

that Telegram will act to reduce their risk of loss on their purchase of Grams. In my experience and

opinion, a reasonable purchaser would read this section of the whitepaper and receive the clear message

that Telegram intends to spend its own capital, if necessary, to lower the risk and increase the expectation

of profit from the purchase of its Grams.

        41.    In essence, Telegram communicated to potential Gram purchasers that it will refrain from

selling Grams in a manner that would adversely impact the Gram holders’ profit potential and that it

stands ready to provide price support by purchasing Grams if the market price significantly decreases.

Furthermore, since there is an initial cap of five billion Grams that may be put into circulation, Telegram

will reach a point at which it can no longer sell new Grams at all. After that point, the price of a Gram

would be able to freely appreciate while Telegram would still be able to provide price support if the

Grams decrease in value.

        42.    My opinion as an observer and participant in digital asset markets is that Telegram’s

unique price support mechanisms would lead a reasonable purchaser of Grams to believe that Telegram is

strongly supporting profit generation by the Initial Purchasers when they resell their Grams. This provides

a strong incentive for potential purchasers to buy Grams with the expectation of achieving a profit

through the efforts and protections of Telegram.

        43.    In addition, the Reference Price formula works in such a way that it ensures that both the

First and Second Round Initial Purchasers will be guaranteed a profit if the market price of Grams tanks

after launch and the TON Reserve implements its buyback program at the buyback price dictated by the

Reference Price formula.




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        44.    Approximately 3.59 billion Grams are deemed to be in circulation at the TON network

launch. This includes the Grams sold to the Initial Purchasers plus two pools of Grams allocated towards

incentive payments for developers and other parties participating in the TON ecosystem. Given this

number of circulating Grams, the Reference Price at network launch is approximately $3.62 per Gram.

The corresponding buyback price therefore starts at $1.81 per Gram. The initial round of investors

purchased at an average price of just under $0.38 per Gram, and the second round of investors purchased

at an average price of just over $1.33 per Gram.

        45.    When Telegram purchases Grams according to the Reference Price formula, the number

of issued Grams will shrink and the buyback price will decrease accordingly. Accounting for this

decrease, the total amount of money distributed to investors during a buyback is given by:

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where n is the number of Grams in circulation before the buyback and Δn is the number of Grams

purchased by Telegram during the buyback. Using these formulas, one can calculate the amount of money

that would be returned to each category of investor if Telegram executed a buyback starting at the

Reference Price at network launch. Since the Round One investors have sale restrictions at the time of

network launch, Round Two investors will be able to sell back their entire supply of tokens first, after

which Round One investors can sell back their tokens after the sale restrictions are lifted. Table 1 shows

the original investments, average buyback price, and amount received from buybacks for each of the

initial rounds of investors under the scenario where the entire round of investors sell their Grams back to

Telegram in a buyback.




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        Table 1. Initial Investment and Buyback Amounts For Each Investment Round
            Investor Group                     Round One Investors                Round Two Investors

            Grams Owned                         2.25 Billion Grams                 639 Million Grams

       Average Purchase Price                         $0.378                             $1.330

       Average Buyback Price                          $0.380                             $1.339

         Investment Amount                         $850 Million                       $850 Million

          Buyback Amount                           $856 Million                       $856 Million


        46.     These results demonstrate that the buyback policy will return all of the purchasers’ initial

investments in the case of a falling Gram price right after network launch, plus a small profit. If the price

of Grams stays high after the network launch and more Grams are sold from the TON Reserve, then the

reference price and buyback price will increase further to provide an even greater margin of safety for the

Initial Purchasers.

        47.     There is one additional feature of the Reference Price formula that is significant for this

analysis. At the time of network launch, none of the 700 million Grams allocated collectively to the

incentive pool and developer pool will have vested and/or otherwise be available for use or resale on

exchanges. Despite this, Telegram considers all 700 million of those Grams as already issued for the

purpose of calculating the Reference Price. This policy decision is significant in that it increases the

Reference Price at launch from $1.80 to $3.62 and therefore also increases the buyback price at the

network launch (half the Reference Price) from $0.90 to $1.81, thereby doubling the buyback price. This

100% increase in the Reference Price is arbitrary, improves the risk profile of the Round 1 and Round 2

investments substantially, and gives an even greater assurance that investors will get their original

investments back in the worst case.

        48.     Furthermore, the Reference Price formula is inherently flawed if it is intended to be a

mechanism to promote price stability in order to encourage purchases of Grams for use as currency or to

buy goods and services, as opposed to as an investment opportunity. Mass-adoption of a token as a




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medium of exchange and an alternative to cash and credit cards requires a token that maintains a steady

value over time. For this reason, many other digital assets that are attempting to gain widespread adoption

as a payment solution have put mechanisms in place to peg their value to a fiat currency such as the U.S.

Dollar. So-called “stablecoins,” such as Tether, DAI, and USDC also attempt to influence the price of

their tokens over time, but stablecoins use a very narrow band of allowable prices rather than encouraging

a 100-fold or greater price appreciation like Grams. An asset that can rapidly and/or substantially increase

in value encourages investment, speculation, and hoarding. Such potential for rapid and/or substantial

price appreciation, with the attendant risks of rapid and/or substantial price decreases, does not encourage

consumers to purchase such a digital token to buy everyday goods and services. Neither does it encourage

businesses to agree to accept such tokens as payment, given the high risk of rapid and wide price changes

from day to day. Businesses prefer not to constantly recalculate and change the posted price for their

goods or services when a currency’s value changes dramatically.


6.      Conclusion


        49.    My professional experience as an investor and analyst of the digital asset space leads me

to conclude that a reasonable purchaser of Grams during Rounds One and Two would consider that

purchase to be an investment with the expectation of earning profits. Those investment profits would

reasonably be expected to be realized by selling the Grams to other public investors later at a higher price,

with the profitability of this activity dependent on the future work of Telegram to build a successful TON

Blockchain ecosystem and a Gram that was in high demand on or after the launch of the TON

Blockchain.

        50.    A standard framework of investment analysis provides the basis for this conclusion.

Team, product strategy, total addressable market, market dynamics, and investor exit including deal terms

are the primary factors considered to determine the viability of an early stage investment. Those factors

were all thoroughly addressed by the TON whitepaper and other promotional materials in order to

convince a potential purchaser that Grams would make a good investment. The team credentials



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highlighted the Telegram leadership’s previous success in building valuable companies. The product

strategy was described as a plan to develop appealing technology and attract hundreds of millions of users

onto the platform. A massive potential total addressable market, including the trillion-dollar commercial

global payments space, makes for an investment opportunity that is sufficiently large to provide high

upside for early investors. The deal terms and investor exit support offered by Telegram to the Initial

Purchasers include a purchase price for Grams that is a steep discount to the anticipated Reference Price

at launch. The Reference Price policy strongly supports the profitability of an investment in Grams

through company sale restrictions and direct buybacks if necessary.

        51.    In contrast, significant aspects of Telegram’s anticipated TON Blockchain would not

motivate a reasonable person looking to purchase a digital token to buy or sell goods and services to buy

Grams during Rounds One and Two for that purpose. The exponential rise in the reference price as Grams

are issued is actually counterproductive to that goal, as consumers and businesses do not prefer to transact

with strongly appreciating assets to buy everyday goods and services. A pegged digital asset would have

been much more attractive for that use-case. Furthermore, it would not make sense for a business or

customer to tie up substantial capital ($1 million minimum for natural persons and $10 million for

entities) and endure price swings for a year or more just to buy a currency that can be purchased as it is

needed in the future. Basically, a reasonable purchaser at the time of the Gram offering would decide to

buy Grams based on the investment potential for profit and not for the potential future consumptive use

possibilities for Grams.

        52.    Furthermore, my professional experience leads me to believe that a reasonable purchaser

of Grams at the time of the network launch is likely to make that purchase as an investment with the

expectation of profit based on the further development of the TON Blockchain ecosystem. Most of the

investment factors discussed in this report apply equally to the Initial Purchasers and to the Launch

Purchasers. To the extent that some applications and software features of the TON Blockchain may be

functional at the time of launch, some of the Launch Purchasers may buy Grams to use those features.

However, based on my review of Telegram’s list of applications and services expected to be available at


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launch, as described in Response to the SEC’s Interrogatory Number 5, such applications are minimal and

the TON Blockchain’s offerings are still in their infancy compared to the potential future ecosystem

Telegram has promoted in its offering materials. For example, I am not aware that any major vendor has

agreed to accept Grams as a form of payment. This limits the number of persons and entities likely to be

interested in purchasing Grams at launch for consumptive use, as opposed to purchasing Grams with the

expectation of earning an investment profit as Grams increase in value when the TON Blockchain

matures and more applications and uses become available.

        53.    The opinions expressed in this report are based on my review and analysis of the

documents that I have reviewed. I reserve the right to supplement my report and analysis based on any

new evidence brought to my attention.




Patrick B. Doody




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KEY QUALIFICATIONS AND EXPERIENCES
  x 17 years of experience investing in equities, commodities, bonds, and foreign exchange,
     including futures and derivatives trading
  x 3 years of experience investing in digital assets on spot and futures markets
  x 10 years of experience developing algorithmic trading strategies across multiple asset
     classes, first in traditional financial markets and later in digital assets
  x Deep knowledge of digital assets markets, including ICO market and arbitrage strategies
  x Led data-driven investigations in digital assets fraud cases involving money laundering,
     market manipulation, and misappropriation of funds
  x Founded two technology companies; experience pitching and raising funds from venture
     capital investors

EDUCATION

       University of Texas at Austin, Austin, TX
       M.S., Electrical Engineering, May 2010

       Rice University, Houston, TX
       B.S., Electrical Engineering, May 2006
       Honors: magna cum laude

PROFESSIONAL EXPERIENCE


       Lily Pad Capital, LLC, Austin, TX                                            2016 – Present
       Founder and CEO
           x Founded a quantitative investment partnership originally focused on investments in
              the digital assets space, and later on long-term equity investments as well as
              derivatives strategies in equity, commodities, and currency markets
           x Developed, executed and optimized cryptocurrency arbitrage strategies, focusing on
              arbitrage opportunities between spot and futures markets
           x Analyzed and valued investment opportunities in digital assets markets
           x Led the design software and processes to automate execution of multiple
              investment strategies, identify arbitrage opportunities, manage counterparty risk,
              and securely store digital assets
           x Developed derivatives trading strategies utilizing machine learning and statistical
              signal processing techniques




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       Integra FEC, Austin, TX                                                          2019 – Present
       Blockchain Data Scientist
           x Led data-driven investigations in digital assets fraud cases involving money
              laundering, market manipulation, and misappropriation of funds
           x Built statistical tools to analyze trading data and algorithmically identify manipulative
              trading activity
           x Developed custom software and data analysis solutions to trace, cluster, and
              deanonymize cryptocurrency transactions
           x Analyzed activity patterns in smart contracts, ERC-20 tokens, and fund transfers on
              the Ethereum blockchain to identify fraudulent financial activity


       Goco Sensors, Inc, Burlington, MA                                        2015 – 2016
       Founder and CEO
          x Founded a technology company that developed automotive radar for
             autonomous vehicles
          x Designed radar hardware and signal processing algorithms to enable automated
             detection of objects in a vehicle’s environment
          x Managed the company’s engineering, fundraising, and recruiting efforts

       MITRE Corporation, Bedford, MA                                            2013 – 2015
       Senior Engineer
          x Designed, modeled, tested, and defined requirements for multiple large radar
              projects

       MIT Lincoln Laboratory, Lexington, MA                                             2010 – 2012
       Associate Technical Staff
          x Developed signal processing algorithms for airborne radar systems

       Ercot, Taylor, TX                                                           2007 – 2009
       Research Assistant
          x Implemented market rules for electricity spot and derivatives trading and tested
              software for ERCOT’s real-time and day-ahead nodal market clearing engine




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Documents I relied upon to complete my analysis
SEC vs. Telegram Group Inc. Protective Order
Telegram Group Inc. Purchase Agreement for Grams (TG-001-00000014—53)
Telegram Group Inc. Purchase Agreement for Grams, Stage A of the Subsequent Sale (TG-003-
00000223—251)
Telegram Group Inc. Indication of Interest, Stage A of the Subsequent Sale
Telegram Group Inc. Indication of Interest, Round 1 (BC000323)
Telegram Open Network – Four Page Teaser (SC-00000002—5)
Telegram Open Network Whitepaper (TG-001-00000080—211)
Telegram Open Network Whitepaper (RIB_TG_00014740-14871)
Telegram Open Network Pre-sale Primer (RIB_TG_00014872—97)
Telegram Open Network Stage A Primer (TLGRM-008-00005149)
Email to Potential Second Round Investors from John Hyman (TG-005-00011292)
Telegram Open Network Primer
Process Memorandum for Entering into a Purchase Agreement for Grams (RIB_TG_00014907—53)
Email Regarding Private Placement Update from John Hyman (RIB_TG_00014739)
Risk Disclosure Regarding Purchase, Sale, and Use of Grams (RIB_TG_00014898—906)
Supplemental Notices to Residents of Certain Areas (TG-003-00000223—51)
Second Supplemental Memorandum to the Staff of the Securities and Exchange Commission
Defendants’ Responses and Objections to Plaintiff’s First Set of Interrogatories


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Business School Research and Ideas, May 2005.
Hu, A., Parlour, C. A., & Rajan, U., Cryptocurrencies: Stylized Facts on a New Investible Instrument .
McKinsey and Company, Global Payments Report 2019.


Data sources
Digital asset volume and price data from coinmarketcap.com
